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                  EXHIBIT A
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       American Public Health Association, et al. v. National Institutes of Health, et al. , No. 1:25-cv-10787-WGY
                        Plaintiffs’ List of Grants Impacted by the Directives (May 27, 2025)


This demonstrative is provided by Plaintiffs’ counsel, pursuant to the Court’s order on May 22, 2025, and to aid the Court in
its understanding of the manner in which the Directives have been implemented as to Plaintiffs in APHA, et al v. NIH, et
al . It contains information that Plaintiffs’ counsel have been able to obtain and compile to date as to grant and program
terminations. Inclusion of a grant or program on this list indicates that Plaintiffs’ counsel have a good faith basis to believe
that the entire grant or program and/or a supplement, parent, subpart, program or other award related to the grant or
program has been terminated. Plaintiffs’ counsel are continuing to analyze information regarding the grants that have been
impacted by the Directives and will plan to provide supplemental lists as verification occurs. Plaintiffs reserve all rights to
provide additional information regarding the impacts of the Directives on Plaintiffs and maintain that the resolution of
Plaintiffs’ claims—both as to liability and as to remedy—does not require the identification or individualized review of all
impacted grants.


The Directives and terminations are unlawful in each of the following ways (“REASONS FOR EVERY GRANT”):

(1) They are in excess of statutory authority and contrary to statute (42 U.S.C. §§ 282(b)(4)–(6), 282(m)(1), 284(b)(1)(A),
284(b)(3)), in violation of 5 U.S.C. §§ 706(2)(A), 706(2)(C).

(2) They are contrary to regulation (45 C.F.R. § 75.372), in violation of 5 U.S.C. § 706(2)(A).

(3) They are arbitrary and capricious, in violation of 5 U.S.C. § 706(2)(A).

(4) They violate the separation-of-powers principle and the Due Process Clause of the U.S. Constitution, and they
accordingly violate 5 U.S.C. § 706(2)(B).
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           Project Number                        Grant Title                                                 Reason Termination is Illegal
1R61HD117134-01                  Supportive and restrictive factors and       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 mental health in LGBT adolescent and         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 young adult populations                      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01DA054236                      Project SMART: Social media Anti-vaping      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Messages to Reduce ENDS Use Among            in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Sexual and Gender Minority Teens             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01HD115551                      Understanding multilevel predictors          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 affecting family formation among sexual      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 and gender minority couples                  of-powers principle of the U.S. Constitution—because of, among other statutes:
                                                                              because of, among other statutes: 42 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p,
                                                                              285t, and/or 289a-2.
5R01MD015256-05                  Sexual orientation-related disparities in    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 obstetrical and perinatal health             in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD015256-05S1                Sexual orientation-related disparities in    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 obstetrical and perinatal health             in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01HD109320-02                  Advancing novel survey tools to increase     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 participation and improve sexual and         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 reproductive health data quality             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3R01HD109320-02S1                Advancing novel survey tools to increase     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 participation and improve sexual and         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 reproductive health data quality             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD016384-03                  An Innovative, Prospective Model to        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Understand Risk and Protective Factors for in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Sexual Assault Experiences and Outcomes of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Among Sexual Minority Men                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R21MD018509-02                  Development and Pilot Evaluation of an   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Online Mentoring Program to Prevent      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Adversities Among Trans and Other Gender of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Minority Youth                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AA031213-02                  The Impact of Minority Stress on Alcohol-    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Related Sexual Assault among Sexual          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Minority College Students: An                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Intersectional, Mixed-Methodological         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 Study
5R01MD017573-03                  Sexual Assault Recovery Among Sexual         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Minority Women: A Longitudinal, Multi-       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Level Study                                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R15AA030898-01A1                Reconstruction of an SGM-specific sexual     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 violence peer support program (SSS+)         in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R34AA030662-01A1                An Online Family-based Program to         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Prevent Alcohol Use and Dating and Sexual in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Violence among Sexual and Gender          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Minority Youth                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R21MH136855-01                  Over-the-Counter PrEP: Acceptability,       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Feasibility, and Potential Impact of Access in excess of statutory authority and contrary to statute—and also violate the separation-
                                 without a Prescription (OFFSCRIPT)          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R33TW011665-06                  Development and Testing of a Mobile          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Application to Enhance HIV Prevention        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Cascade in Malaysian MSM                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3U24MD017250-04S1                Research Coordinating Center to Reduce       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Disparities in Multiple Chronic Diseases     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 (RCC RD-MCD)                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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          Project Number                          Grant Title                                                 Reason Termination is Illegal
5U24MD017250-04                  Research Coordinating Center to Reduce        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Disparities in Multiple Chronic Diseases      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 (RCC RD-MCD)                                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5T32MH019139-35                  Behavioral Sciences Research in HIV           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Infection                                     in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
3U01MD019398-03S1                Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among low income black youth and young in excess of statutory authority and contrary to statute—and also violate the separation-
                                 adults - DEIA Supplement               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                        U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3U01MD019398-03S2                Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among low income black youth and young in excess of statutory authority and contrary to statute—and also violate the separation-
                                 adults                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                        U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3U01MD019398-03S3                Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among low income black youth and young in excess of statutory authority and contrary to statute—and also violate the separation-
                                 adults - Supplement                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                        U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5U01MD019398                     Increasing financial and health equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among low income black youth and young in excess of statutory authority and contrary to statute—and also violate the separation-
                                 adults                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                        U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01MD020284-01                  Measures of structural stigmatization and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 discrimination for HIV research with Latine in excess of statutory authority and contrary to statute—and also violate the separation-
                                 sexual and gender minorities                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3R01AA029076-04S1                Improving Measurement of Alcohol Use          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and Other Disparities by Sex, Sexual          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Orientation, and Gender Identity through      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Community Engagement                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AA029076-04                  Project Recognize: Improving                  See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Measurement of Alcohol Use and Other          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Disparities by Sex, Sexual Orientation, and   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Gender Identity through Community             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 Engagement
5R01AA030017                     A Randomized Controlled Trial of a Game- See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Based Intervention to Reduce Alcohol Use in excess of statutory authority and contrary to statute—and also violate the separation-
                                 among Sexual and Gender Minority Youth of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R21AA031548-01A1                Daily Impact of Sexual Minority Stress on     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Alcohol-Related Intimate Partner Violence     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 among Bisexual+ Young Adults: A Couples'      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Daily Diary Study                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01AA031637-01A1                The Role of Local Structural Stigma in        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Alcohol Related Inequities among SGM          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Young Adults                                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1T32DA057926-01A1                Building an interprofessional and diverse     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 workforce in substance use and pain           in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
1R01DA059240-01A1                Characterizing Intersectional Geospatial      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Stigma and Affirmation Landscapes and         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Their Influence on Black and Latino           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Bisexual Men At Risk for Substance Abuse      U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 and HIV
R01DA059480-01A1                 Elucidating minority stress influences on     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 tobacco use at the intersection of sexual     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 orientation and rurality                      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01DA060066-01                  Combination of THC and CBD as a Novel         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Treatment for Co-Occurring Opioid             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Addiction and Chronic Pain                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).




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           Project Number                         Grant Title                                                Reason Termination is Illegal
1R01DA061661-01                  Optimizing a Just-in-Time Adaptive           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Intervention to Increase Uptake of           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Chemsex Harm Reduction Services in           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 MSM: A Micro-randomized Trial                U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R21DA062591                      Optimizing long-acting injectable PrEP     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 strategies for sexual minority men who use in excess of statutory authority and contrary to statute—and also violate the separation-
                                 methamphetamine                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3R01AG063771-05S1                Effects of Social Networks and Policy    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Context on Health among Older Sexual and in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Gender Minorities in the US South        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AG063771-05                  Effects of Social Networks and Policy    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Context on Health among Older Sexual and in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Gender Minorities in the US South        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
K12GM068524                      San Diego IRACDA Scholars Program            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
3R01AG077934-03S1                Structural Racism and Discrimination in      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Sexual and Gender Minority Health            in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Inequities - Supplement                      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AG077934-03                  Structural Racism and Discrimination in      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Older Men's Health Inequities                in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5UM2HD111102-03                  Adolescent Medicine Trials Network for       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 HIV/AIDS Interventions (ATN) Scientific      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Leadership Center                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R34MH126894                      Making Universal, Free-of-Charge           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Antiretroviral Therapy Work for Sexual and in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Gender Minority Youth in Brazil            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH128049-04                  Tcher, Take Charge: Increasing PrEP          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Awareness, Uptake, and Adherence             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Through Health Care Empowerment and          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Addressing Social Determinants of Health     U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 Among Racially Diverse Trans Women in
                                 the Deep South
5R34MH129208-03                  3T-Prevent: Piloting a multi-level,          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 combination intervention strategy to         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 expand HIV and bacterial STI prevention      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3R24NS132283-01S1                PURPOSE: Positively Uniting Researchers of See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Pain to Opine, Synthesize, and Engage      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R24NS132283-01                  PURPOSE: Positively Uniting Researchers of See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Pain to Opine, Synthesize, and Engage      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1RF1MH132360-01                  Brief digital intervention to increase COVID- See REASONS FOR EVERY GRANT.
                                 19 vaccination among individuals with
                                 anxiety or depression
5R01MH133821-02                  The Socioecology of Sexual Minority          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Stigma: Data Harmonization to Address        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Confounding Bias and Investigate Cross-      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Level Mental Health Effects                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01MH138335-01                  Bisexual adolescents' and young adults'      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 risk for depression and suicidal ideation:   in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Developmental trajectories, risk and         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 protective factors, and underlying           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 mechanisms




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           Project Number                        Grant Title                                                 Reason Termination is Illegal
5K23DK139454-02                  Structural Racism as a "Third hit" on kidney See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 outcomes of Black individuals with APOL1 in excess of statutory authority and contrary to statute—and also violate the separation-
                                 risk alleles                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5T32GM141862-04                  IBioSTeP: NIH G-RISE program at UC           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Merced                                       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1R01GM155395-01                  Promoting Inclusive Excellence               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
1K99GM155594-01                  Characterization of the metastatic TIME by See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 subcellular spatial profiling              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1U19AI171110-01                  QCRG Pandemic Response Program               See REASONS FOR EVERY GRANT.
5R01AI172092-03                  Enhanced COhort methods for HIV              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Research and Epidemiology (ENCORE)           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 among transgender women in the United        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 States                                       U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AI174862-03                  Cabotegravir PrEP: Actionable Robust         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Evidence for Translation into Practice       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 (CABARET)                                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31AI181431-01A1                Prevention of Chlamydia trachomatis          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 infections: Evaluation of vaccination and    in excess of statutory authority and contrary to statute—and also violate the separation-
                                 post-exposure prophylactic antibiotic use    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 as population-level strategies               U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
R01CA265945                      Testing effective methods to recruit sexual See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and gender minority cancer patients for     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 cancer studies                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5K99NS129753-02                  Cell type-specific mechanisms of history-    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 dependent perceptual biases in sensory       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 cortex                                       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
F31GM151838-02                   Understanding the role of coiled-coil      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in
                                 domains in regulating liquid-liquid phase  excess of statutory authority and contrary to statute—and also violate the separation-of-
                                 separation of protein assemblies in cell   powers principle of the U.S. Constitution—because of, among other statutes: 42 U.S.C. §§
                                 division                                   282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99AG086530-01                  Alzheimer's Disease and Related Dementia See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also in
                                 Neuropathologies and Exposures to Traffic excess of statutory authority and contrary to statute—and also violate the separation-of-
                                 Pollution Mixtures                         powers principle of the U.S. Constitution—because of, among other statutes: 42 U.S.C. §§
                                                                            282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
R25MH129290                      Short Trainings on Methods for Recruiting, See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Sampling, and Counting Hard-to-Reach       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Populations: The H2R Training Program      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
DP2AI164315                      One Ballroom: Understanding                  See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Intersectional Stigma to Optimize the HIV    in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Prevention Continuum among Vulnerable        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Populations in the United States             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31DA060046-01                  Dopamine Projections to the Amygdala in      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Goal-Directed and Habit Learning             in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o(b)(2), 285t-1(a)(b), and/or 288(a)(4).
U54DA060049-02                   Advancing Tobacco Regulatory Science to      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Reduce Health Disparities                    in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R24DA061190-01                  PRIDE-CARES: Patient-Responsive              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Initiatives for Diverse Engagement –         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 LGBTQ+ Community Action in Research to       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Eliminate Substance Use Disorder             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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           Project Number                        Grant Title                                                 Reason Termination is Illegal
1R01DA061345-01                  Race & Place: The Impacts of Racial          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Inequity on Substance Use and HIV            in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Outcomes in Los Angeles                      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31DA061593-01                  Community and big-data system                See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 approaches to identifying and                in excess of statutory authority and contrary to statute—and also violate the separation-
                                 understanding the health impact of           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 xylazine                                     U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99DA062328-01                  The role of valence encoding amygdala        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 ensembles in avoidance behavior              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
8K00DA062570-02                  Investigating the role of microglia          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 molecular rhythms in the nucleus             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 accumbens in OUD                             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
R01AG073440-03                   Examining Health Comorbidities and        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Healthcare Utilization Disparities among  in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Older Transgender and Cisgender Adults in of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 the U.S.                                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01AG089099-01                  Social Networks and Cognitive Health         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among Black and Latino sexual minority       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 men in NJ                                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01HD105655-04S1                 Understanding and Supporting                See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Reproductive Decisions Among Women          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 with Developmental Disabilities that Affect of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Cognition                                   U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                             288(a)(4), and/or 289a-2.
5K12GM106996-09                  IRACDA at UCLA                               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5U01HD108738-03                  Harnessing the power of text messaging to See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 reduce HIV incidence in adolescent males in excess of statutory authority and contrary to statute—and also violate the separation-
                                 across the United States                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R21HD109536                      Evaluating Teen-Parent Dynamics in     See REASONS FOR EVERY GRANT.
                                 Adolescent COVID-19 Vaccine Acceptance
                                 and Uptake
1R01HD110428-01A1                Modeling Adolescent Health Care Decision- See REASONS FOR EVERY GRANT.
                                 Making for Vaccines: A Community- Based
                                 Participatory Approach

1R21HD110617-01A1                Development and Initial Trial of Brief       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Interventions to Help Parents of             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Stigmatized Youth Reduce Distress and        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Strengthen Attachment                        U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01MH115765                      A couples-based approach to HIV              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 prevention for transgender women and         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 their male partners                          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01HD115985-01                  The California Abundant Birth Project      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Evaluation: Advancing Birth Equity through in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Guaranteed Income for Pregnant People      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R25HD116367                      Restoring equity to measuring and            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 preventing perinatal intimate partner        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 violence (Remap-IPV)                         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3P30AI117943-10S1                Third Coast Center for AIDS Research         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH118245-05                  Biopsychosocial mechanisms underlying        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 internalizing psychopathology in a           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 prospective, population-based cohort of      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 sexual minority young adults                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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          Project Number                         Grant Title                                                  Reason Termination is Illegal
R25MH119858                      SHINE Strong: Building the pipeline of HIV See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 behavioral scientists with expertise in trans in excess of statutory authority and contrary to statute—and also violate the separation-
                                 population health                             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
5R33MH120236-04                  Suicide Prevention for Sexual and Gender      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Minority Youth                                in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH121194-04                  Monitoring Microaggressions and           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Adversities to Generate Interventions for in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Change (MMAGIC) for Black Women Living of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 with HIV                                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5K99NS126639/R00NS126639         Mitochondrial fidelity in mammalian           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 neurons                                       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5R25MH126703-05                  Pipeline to Graduate Education and            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Careers in Behavioral and Social Science      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Research for URM Undergraduates:              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Addressing HIV in Sexual and Gender           U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                 Minority Communities                          288(a)(4), and/or 289a-2.
5T32MH126772-04                  Culturally-focused HIV Advancements           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 through the Next Generation for Equity        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 (CHANGE) Training Program                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
5R21MH128114-02                  Strengthening the HIV care continuum for See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 transgender women living with HIV in     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Malaysia                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH128130-04                  STI Response and Recommendations              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Under PrEP (STIRRUP)                          in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3R01MH128729-03S2                Project STRIVE (STudents RIsing above) -      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Offsetting the health and mental health       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 costs of resilience                           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
7R01MH129175-03                  Strategies to Prevent HIV Acquisition         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Among Transgender MSM in the US               in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R34MH129187                      Brothers building brothers by breaking        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 barriers (B6): A resilience-focused           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 intervention for young Black gay and          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 bisexual men living with HIV                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R34MH129189-03                  Data-driven, peer-led messaging using     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 social media influencers to increase PrEP in excess of statutory authority and contrary to statute—and also violate the separation-
                                 awareness and uptake among transgender of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 women                                     U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01MH129285                      A multi-level approach to improve HIV         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 prevention and care for transgender           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 women of color                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH130375-02                  A longitudinal and experience sampling         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 investigation of rejection sensitivity and its in excess of statutory authority and contrary to statute—and also violate the separation-
                                 role in sexual minority adolescents' mental of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 health                                         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R34MH132405-01                   MyPrEP Plus: Development and Pilot        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Testing of Novel Pre-Exposure Prophylaxis in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Support Tools for Transgender Women       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MH132415                     Understanding the Regional Ecology of a       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Future HIV Vaccine                            in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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          Project Number                          Grant Title                                              Reason Termination is Illegal
5R01MH133543-02                  Implementing sustainable evidence-based See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 mental healthcare in low-resource          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 community settings nationwide to advance of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 mental health equity for sexual and gender U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 minority individuals
1R61MH133710-01A1                Targeting Minority Stressors to Improve      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Eating Disorder Symptoms in Sexual           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Minority Individuals with Eating Disorders   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
4R00DK133804                     Utilizing a human stem cell model of the   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 esophagus to understand racial disparities in excess of statutory authority and contrary to statute—and also violate the separation-
                                 during injury repair                       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                            288(a)(4), and/or 289a-2.
1K23MH134111-01                  Using youth-engaged methods to develop       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and evaluate a measure for disordered        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 eating behaviors in transgender and          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 gender-diverse youth                         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31MH134720-01A1                Understanding Patient Level                  See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Implementation Determinants Related to       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Long-acting Injectable HIV Pre-Exposure      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Prophylaxis among Young Men Who Have         U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                 Sex with Men Living in Rural Areas           288(a)(4), and/or 289a-2.
5R01MH134721-02                  A randomized clinical trial of client-     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 centered care coordination to improve pre- in excess of statutory authority and contrary to statute—and also violate the separation-
                                 exposure prophylaxis use for Black men     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 who have sex with men                      U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R21DK134815-01A1                Transforming motivational interviewing       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 into a computable model for automated        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 patient diabetic counseling.                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R34MH134912-01A1                Youth Empowerment and Safety                 See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Intervention for Systems-involved Sexual     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 and Gender Minority Youth at Risk of         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Suicide                                      U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5K99MH135061-02                  Oxytocin receptor signaling modulates        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 social attachment via hippocampal CA2/3      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 function                                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
3R01DK135099-02S1                Diversity Supplement for: Impact of a        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Healthy Checkout Policy on Healthfulness     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 of Grocery Environments and Sales            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
R36MH135619                      Transcriptomic contributions to the          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 development and evolution of the human       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 cerebral cortex                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5F32MH135634-02                  The psychological underpinnings of gender See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 disparities in adolescent mental health   in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                           288(a)(4), and/or 289a-2.
R01MH135738                      Know your status: A cluster randomized      See REASONS FOR EVERY GRANT.
                                 controlled trial comparing healer-initiated
                                 HIV counseling and testing to standard of
                                 care in rural South Africa
5F99NS135767-02                  Neural basis of movement in health and       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 disease                                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99MH135993-01                  Neural circuit dynamics of spatial reward    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 memory                                       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).




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           Project Number                       Grant Title                                                  Reason Termination is Illegal
1R21DK136084-01A1                Mobile pop-up units for diabetes             See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 prevention among Hispanics in rural          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Indiana                                      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31MH136729-01A1                Determining the role of discrimination in    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 clinical presentation and treatment          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 response among sexual minority people        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 with OCD: A machine learning approach        U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5U01DK137259-02                  Renal transplant Equity through           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Partnership And Structural Transformation in excess of statutory authority and contrary to statute—and also violate the separation-
                                 (REPAST)                                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1U01DK137262                     CommunityRx - Chronic Kidney Disease         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 (CRx-CKD): An EMR-integrated community       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 resources referral intervention to address   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 structural racism and kidney health          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 disparities in rural North Carolina


5U01DK137269-02                  Mitigating the Effects of Structural Racism See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 on Chronic Kidney Disease Disparities       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 among African Americans                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5U01DK137272-02                  NAVIGATE Kidney: A Multi-Level               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Intervention to Reduce Kidney Health         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Disparities                                  of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
K23MH137389-01                   ALIVE: Development and feasibility of a      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 psychosocial intervention for sexual and     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 gender minority autistic adults              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
1R01MH137695-01                  Measuring and Mapping Trajectories of        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Risk and Resilience for Suicidal Thoughts    in excess of statutory authority and contrary to statute—and also violate the separation-
                                 and Behaviors in Sexual and Gender           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Minority Preteens                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R34MH137753-01                  Developing and pilot testing an eHealth      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 decision support tool for young trans        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 women to improve informed decision           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 making about PrEP                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01MH140023-01                  Mental Health Effects of Marriage Policy: See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Evidence from Linked Administrative Data in excess of statutory authority and contrary to statute—and also violate the separation-
                                 in New Zealand                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R00GM140269-04                  Evolution of Cargo Transport                 See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99DK140511-01                  Fcy Receptor-Mediated                  See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Pharmacogenomics of Antibody Therapies in excess of statutory authority and contrary to statute—and also violate the separation-
                                 in Type 1 Diabetes                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                        U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5T34GM141986-04                  Maximizing Access to Research Careers        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 (MARC) at University of Hawaii at Manoa      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM146016/4R00GM146016-03     Regulation of zinc-dependent lysosome        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 morphological restructuring, zinc            in excess of statutory authority and contrary to statute—and also violate the separation-
                                 trafficking and low zinc homeostasis in C.   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 elegans and human model systems              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
K99GM146243-01                   The genetic control of neuronal number       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and behavior                                 in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM147825-02                  Understanding and rewiring cellular          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 behavior with synthetic biology              in excess of statutory authority and contrary to statute—and also violate the separation-
                                 approaches                                   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).




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          Project Number                           Grant Title                                                 Reason Termination is Illegal
5K99GM148819-02                   Elucidating the epigenetic regulation of      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  extracellular matrix and virus-induced        in excess of statutory authority and contrary to statute—and also violate the separation-
                                  fibroblast activation                         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5R01HL149778-05                   Cardiovascular Health of Sexual and           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Gender Minorities in the Hispanic             in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Community Health Study/Study of Latinos       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  (SGM HCHS/SOL)                                U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
K99GM151467-02                    Nuclear and chromatin aberrations during See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  non-apoptotic cell death in C. elegans and in excess of statutory authority and contrary to statute—and also violate the separation-
                                  mammals                                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
K99GM151473                       Characterizing the role of tumor              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  suppressor phase separation and               in excess of statutory authority and contrary to statute—and also violate the separation-
                                  chromatin organization in maintaining         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  genomic integrity                             U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM152834-02/4R00GM152834-03   Regulation of oxidative stress signaling by   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  tyrosine phosphorylation of antioxidant       in excess of statutory authority and contrary to statute—and also violate the separation-
                                  enzymes                                       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM152835-02                   Testing the functional consequences of        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  rapid centromeric DNA and protein             in excess of statutory authority and contrary to statute—and also violate the separation-
                                  evolution                                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99GM154059-01A1                 RNA and genome regionalization in giant       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  single cells: implications for cellular       in excess of statutory authority and contrary to statute—and also violate the separation-
                                  patterning                                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
K99GM154061                       Investigating UPF3 paralog function in        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Nonsense-Mediated mRNA Decay and              in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Genetic Compensation                          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
3R01AI155739-04S1                 Diversity Supplement - Environmental          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  surveillance of albendazole resistance        in excess of statutory authority and contrary to statute—and also violate the separation-
                                  markers in human infective helminths          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  using dual amplicon metabarcoding             U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99GM157463-01                   Building Dendrite Architecture via            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Microtubule Nucleation                        in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
K99GM157504                       Understanding eukaryotic proteasome           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  assembly regulation                           in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99GM159354-01A1                 Metabolic regulation of pancreatic            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  metaplasia and neoplasia                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5R01HL160326-05                   Stigma and the non-communicable disease See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  syndemic in aging HIV positive and HIV  in excess of statutory authority and contrary to statute—and also violate the separation-
                                  negative MSM                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3P01AI165075-01S1                 Broad neutralization of pandemic threat cor See REASONS FOR EVERY GRANT.
R01AI169239                       Uptake, safety and effectiveness of COVID- See REASONS FOR EVERY GRANT.
                                  19 Vaccines during Pregnancy
5K99HL169908-02                   Examining the Role of Structural Factors in See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are
                                  Racial and Ethnic Disparities in            also in excess of statutory authority and contrary to statute—and also violate the
                                  Cardiovascular Disease                      separation-of-powers principle of the U.S. Constitution—because of, among other
                                                                                statutes: 42 U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p,
                                                                                285t, 285t-1(a)(b), 288(a)(4), and/or 289a-2.
5K99AI173544-02                   Improving phage-based medicine with           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  immunoengineering                             in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99HL173668-01                   Resistance Exercise in the Prevention and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Treatment of Heart Failure with Preserved in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Ejection Fraction (HFpEF)                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).




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           Project Number                       Grant Title                                                  Reason Termination is Illegal
1K99AI182451-01                  Molecular understanding of maternal          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 humoral responses to pregnancy               in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
R01CA237670                      Project RESIST: Increasing Resistance to     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Tobacco Marketing Among Young Adult          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Sexual Minority Women Using the              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Inoculation Message Approaches               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1U54CA267730-01                  Fostering Institutional Resources for        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Science Transformation: The FLORIDA-         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 FIRST Health-science Brigade                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5U54CA267776-04                  NIH FIRST Cohort Cluster Hiring Initiative at See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Icahn School of Medicine at Mount Sinai       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1UC2CA293786                     ComPASS Health Equity Research Hub at        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Yale                                         in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
U54MD007598                      Accelerating Excellence in Translational     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Science (AXIS)                               in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o( b)(2), 285t-1(a)(b), and/or 288(a)(4).
5T37MD008636-10                  Transdisciplinary Health Disparities       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Research Training for Native Hawaiians and in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Pacific Students                           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5D43TW012274-03                  Integrated Networks of Scholars in Global    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Health Research Training (INSIGHT)           in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1R01HG013145-01                  Trans/Forming Genomics: Guidance for         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Research Involving Transgender and           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Gender Diverse People                        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD013495-05                  Health disparities, stress pathways, and     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 stress-related comorbidities among MSM       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 living with HIV                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD016864-03                  K-VAC: Kentucky Vaccinating Appalachian      See REASONS FOR EVERY GRANT.
                                 Communities
R01MD016880-03                   Increasing COVID-19 vaccine uptake           See REASONS FOR EVERY GRANT.
                                 among Latinos through a targeted clinical
                                 and community-behavioral intervention
4R00MD016964-03                  Comprehensive computational analysis of      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 genetic and regulatory differences           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 between individuals with African and         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 European ancestries across four brain        U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                 regions                                      288(a)(4), and/or 289a-2.
P50MD017349                      Chicago Chronic Condition Equity Network See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                          in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD017364-03                  REDES: a peer network and mobile health See REASONS FOR EVERY GRANT.
                                 (mHealth) enhanced CHW model to
                                 maximize COVID-19 vaccination among low
                                 income Latinos
1K99MD018451-01A1                Advancing Indigenous Cancer Health Equity See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 through a Community-Centered              in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Framework                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                           288(a)(4), and/or 289a-2.
R01MD018459                      Elucidating the high and heterogeneous       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 risk of gestational diabetes among Asian     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Americans: an integrative approach of        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 metabolomics, lifestyles, and social         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 determinants




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          Project Number                          Grant Title                                                 Reason Termination is Illegal
R01MD018523                       A Multilevel, Multiphase Optimization        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Strategy for PrEP: Patients and Providers in in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Primary Care                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01MD018679-02                   Understanding the Role of Structural         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Oppression for Suicide Risk among Black      in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Sexual and Gender Minority Adolescents       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  and Young Adults                             U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5K99MD019060                      A Digital Health Intervention to Increase    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Condom Use Among Adolescent Sexual           in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Minority Males                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
1K99MD019292-01                   A Multilevel Social Capital Approach to      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Address Cervical Cancer Screening and        in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Follow Up Delays among Latinas in Safety-    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  Net Settings                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
R21MD019345-01A1                  Ecological momentary assessment of daily     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  minority stressors and cannabis and          in excess of statutory authority and contrary to statute—and also violate the separation-
                                  tobacco co-use among sexual minority         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  adults                                       U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1P50MD019475-01                   The Institute for Health Equity Research     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Catalyst Center                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
1R21MD019829-01                   The Roles of Parental Mental Health and      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Help-Seeking: Utilizing a Family Systems     in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Approach to Upstream Suicide Prevention      of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  for Sexual Minority Youth                    U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31MD019996-01                   Advancing Perinatal Health Equity through See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  a Community-engaged Model of              in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Healthcare Services                       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                            288(a)(4), and/or 289a-2.
1F31MD020261-01                   Understanding the Macrosocial Drivers of     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Cardiovascular Health in the Rural South     in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
5R01NR020309-04                   Harnessing the power of technology to        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  develop a population-based HIV               in excess of statutory authority and contrary to statute—and also violate the separation-
                                  prevention program for trans girls           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5K99DC020570-02/4R00DC020570-03   Identifying neural circuits that support     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  effortful listening                          in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(h), 283o( b)(2), 285t-1(a)(b), and/or 288(a)(4).
5R01NR020846-02                   #TranscendentHealth - Adapting an LGB+       See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  inclusive teen pregnancy prevention          in excess of statutory authority and contrary to statute—and also violate the separation-
                                  program for transgender boys                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1U24NR021014-02                   Advancing Health Equity Through         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Innovative Community Capacity Building, in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Data Science & Delivering Community-    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  Centered Structural Interventions &     U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                  Outcomes: Drexel's ComPASS Coordinating
                                  Center (C3)
OT2OD025276                       PRIDEnet for the All of Us Research          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Program                                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01AA029044-04                   Intersectional Approaches to Population- See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                  Level Health Research: Role of HIV Risk and in excess of statutory authority and contrary to statute—and also violate the separation-
                                  Mental Health in Alcohol Use Disparities    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                  among Diverse Sexual Minority Youth         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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           Project Number                        Grant Title                                                    Reason Termination is Illegal
5R01AA029088-03                  A unified protocol to address sexual            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 minority women's minority stress, mental        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 health and hazardous drinking                   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
4R00AA030601-03                  Stigma, Romantic Relationships, and             See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Alcohol Use Among Transgender and               in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Nonbinary Young Adults                          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                                 288(a)(4), and/or 289a-2.
5F31AA030722-02                  Examining differential effects of state         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 equality-promoting policies on harmful          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 alcohol use among sexual and gender             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 minority adults in the U.S.: an                 U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                 econometrics approach for causal                288(a)(4), and/or 289a-2.
                                 inference
1R15AA030898-01A1                Reconstruction of a SGM-specific sexual         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 violence peer support program (SSS+)            in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1F31AA031420-01A1                Examining Proximal Associations between         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Minority Stress, PTSD Symptoms, and             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Alcohol Use among Bi+ College Students          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 with Trauma Histories                           U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                                 288(a)(4), and/or 289a-2.
5R01ES034303-03                  Research Employing Environmental                See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Systems and Occupational Health Policy          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Analyses to Interrupt the Impact of             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Structural Racism on Agricultural Workers       U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 and Their Respiratory Health (RESPIRAR)


OT2OD035659-01                   Macro-level Health Considerations of            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Community and Criminal Justice System           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Relationships in North Texas                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
1K99EB036553-01                  AN ADAPTIVE FRAMEWORK TO                        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 SYNTHESIZE AND RECONFIGURE                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 BACTERIAL VIRUSES (PHAGES) TO                   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 COUNTER ANTIBIOTIC RESISTANCE                   U.S.C. §§ 282(h), 283o( b)(2), 285t-1(a)(b), and/or 288(a)(4).
5U01DA036939-10                  Multilevel Influences on HIV and Substance See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Use in a YMSM cohort                       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                            U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3P2CHD041023-24S1                "Minnesota Population Center" (Note: this See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 is a Diversity Supplement of the Parent   in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Grant)                                    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                           U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                                                           288(a)(4), and/or 289a-2.
3P30AI050409-26S1                Center for AIDS Research at Emory               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 University                                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R01DA052016                      Substance use and DNA methylation at the See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 intersection of sex and gender           in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                          U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R03DA052651                      Improving Sexual Minority Health:               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Differences in Substance Use, Substance         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Use Treatment, and Associated Chronic           of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Diseases among Rural versus Urban               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 Populations
3R01DA055673-03S1                Supplement entitled, "Exploring the             See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 accessibility, acceptability, and utilization   in excess of statutory authority and contrary to statute—and also violate the separation-
                                 of a community-based harm reduction             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 vending machine among persons with              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o( b)(2), 283p, 285t, 285t-1(a)(b),
                                 limited opportunity structures."                288(a)(4), and/or 289a-2.
R01DA056235                      Structural Influences on                        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Methamphetamine Use among Black Gay             in excess of statutory authority and contrary to statute—and also violate the separation-
                                 and Bisexual Men in Atlanta                     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                                 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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           Project Number                         Grant Title                                                 Reason Termination is Illegal
5R01DA056287-02                  Comparative- and cost-effectiveness           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 research determining the optimal              in excess of statutory authority and contrary to statute—and also violate the separation-
                                 intervention for advancing transgender        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 women living with HIV to full viral           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 suppression
5R01DA056888-03                  Optimizing PrEP Implementation and Cost- See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 effectiveness among Sexual and Gender     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Minority Individuals with a Substance Use of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Disorder                                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01DA058642-02                  Testing a multistage model of risk factors    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 for cannabis use utilizing a measurement      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 burst design among sexual minority            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 women, sexual minority gender diverse         U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 individuals, and heterosexual women
5R01MD012793-05                  Advancing novel methods to measure and See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 analyze multiple types of discrimination for in excess of statutory authority and contrary to statute—and also violate the separation-
                                 population health research                   of-powers principle of the U.S. Constitution—because of, among other statutes:
                                                                              because of, among other statutes: 42 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p,
                                                                              285t, and/or 289a-2.
3R01MD015165-04S1                Multilevel Physical Activity Intervention for See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Low Income Public Housing Residents           in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                               288(a)(4), and/or 289a-2.
5T32MH020004                     Research Training in Late-Life NeuroPsychia See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                             in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                             of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                             U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1R01NR020583-01                  Ending the HIV Epidemic with Equity: An All- See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 facility Intervention to Reduce Structural in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Racism and Discrimination and Its Impact of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 on Patient and Healthcare Staff Wellbeing U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.


R01NR021098                      Evaluating the Implementation and De-         See REASONS FOR EVERY GRANT.
                                 Implementation of Pandemic Era SNAP
                                 Expansion Policies on Diet and Health: A
                                 Mixed Methods Project
1F31NR021239-01                  Personal Healthcare Networks of               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Transgender and Gender-Diverse Adults         in excess of statutory authority and contrary to statute—and also violate the separation-
                                 After Gender-Affirming Surgery                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
R00AA028049                      A mixed-methods approach to                   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 understanding stress and hazardous            in excess of statutory authority and contrary to statute—and also violate the separation-
                                 drinking among same-sex female couples        of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
T32DA031099-13                   Substance Abuse Epidemiology Training         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Program (SAETP) at Columbia University        in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K01DE033040-01A1                Developmental mechanisms in the               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 formation and function of sensory-motor       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 circuits responsible for suckling and         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 mastication.                                  U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
U01OD033248                      TransHealthGUIDE: Transforming Health         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 for Gender-Diverse Youth Using                in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Interventions to Drive Equity                 of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
3OT2OD035592                     Proyecto Juntos                               See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                               in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                               of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                               U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5UM1AI068619-19                  Integrating HIV Prevention, Gender-           See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Affirmative Medical Care, and Peer Health     in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Navigation for Transgender Women in the       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Americas: A Vanguard Study                    U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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           Project Number                        Grant Title                                                 Reason Termination is Illegal
3R01AG075734                     Training the Long-Term Services and          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Supports Dementia Care Workforce in          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Provision of Care to Sexual and Gender       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Minority Residents                           U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5UM2HD111076-03                  Operations and Collaborations Center -       See REASONS FOR EVERY GRANT.
                                 Adolescent Medicine Trials Network for
                                 HIV/AIDS Interventions (ATN) Operations
                                 and Collaborations Center (UM2 Clinical
                                 Trial Optional)
1K23HD112599-01A1                Caregiver decision making for seasonal       See REASONS FOR EVERY GRANT.
                                 respiratory vaccines for children
1R21HD116080-01                  Confidentiality in use of health insurance   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 coverage for reproductive health services    in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes:
                                                                              because of, among other statutes: 42 U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p,
                                                                              285t, and/or 289a-2.
R01MH130007                      Understanding the Interplay between          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Parent and Child Contributions in Parent-    in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Child Anxiety Transmission                   of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5K99MH133994-02                  Computational and neurodevelopmental         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 mechanisms of memory-guided decision-        in excess of statutory authority and contrary to statute—and also violate the separation-
                                 making                                       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1R36MH135609-01                  An intersectional approach to transgender    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and/or nonbinary college student mental      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 health: The role of gender identity,         of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 race/ethnicity, socioeconomic status, and    U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 campus policy
5K99NS135649-02                  Computational Methods for Precise            See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Holographic Control and Mapping of           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Neural Circuits                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM144750-02                  Dynamic mechanisms of transcriptional        See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 coactivator function in Notch signaling      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99GM148723-02                  Stress tolerant annual killifish: a new      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 model for the cellular stress response       in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1R15GM152943-01                  "Mathematical Modeling and Scientific        See REASONS FOR EVERY GRANT.
                                 Computing for Infectious Disease
                                 Research."
5K99GM153720-02                  Dissecting the synaptic and circuit          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 mechanisms underlying olfactory-driven       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 social behavior                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99GM154060-01                  TULP3 integrates essential ciliary functions See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
1K99GM157508-01                  Unraveling the role of molecular capacitors See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 that obscure cryptic genetic variation in   in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Astyanax mexicanus during the evolution of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 of eye loss                                 U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5K99HL166700-02                  Investigating relationships between          See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 naturalistic light exposure and sleep        in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5P01AI168148-02                  Leptospiral-Phagocyte Dynamics in            See REASONS FOR EVERY GRANT.
                                 Leptospirosis
1U19AI171401-01                  Metropolitan AntiViral Drug Accelerator      See REASONS FOR EVERY GRANT.
R01CA251478                      Local Flavor Policies to enhance equity in   See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 tobacco                                      in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.




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           Project Number                        Grant Title                                          Reason Termination is Illegal
R34CA283483-02                   Multi-level school-based intervention to     See REASONS FOR EVERY GRANT.
                                 improve HPV vaccine uptake and
                                 completion in South Africa
5K99MD018629-02                  Racism-related stress and birth outcomes     See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 among Latinas: New tools for maximizing      in excess of statutory authority and contrary to statute—and also violate the separation-
                                 conceptual and methodological validity       of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(h), 282(m)(2)(B)(iii), 283o (b)(2), 283p, 285t, 285t-1(a)(b),
                                                                              288(a)(4), and/or 289a-2.
5K01AG056669-05                  The Epidemiology of Alzheimer's Disease      See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 and Related Dementias in Sexual and          in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Gender Minority Older Adults: Identifying    of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Risk and Protective Factors                  U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R24AG066599-03                  Building Community and Research              See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Engagement among Sexual and Gender           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Minority Older Adults at Risk for            of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Alzheimer’s Disease and Related              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 Dementias
5R01AG083177-02                  Enhancing Measurement and                    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Characterization of Roles and Experiences    in excess of statutory authority and contrary to statute—and also violate the separation-
                                 of Sexual and Gender Minority Caregivers     of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 of Persons living with Alzheimer's Disease   U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
                                 and Related Dementias


2T32GM135742-06                  UCSC IMSD                                    See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                                                              in excess of statutory authority and contrary to statute—and also violate the separation-
                                                                              of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(h), 283o (b)(2), 285t-1(a)(b), and/or 288(a)(4).
5R01MD018250-03                  Assessing Cervical Cancer Healthcare         See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Inequities in Diverse Populations: The       in excess of statutory authority and contrary to statute—and also violate the separation-
                                 ACHIEVE Study                                of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                                                              U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.
5R01CA274564-03                  Impact of Allostatic Load and                See REASONS FOR EVERY GRANT. In addition, the Directives and terminations are also
                                 Neighborhood Contextual Factors on           in excess of statutory authority and contrary to statute—and also violate the separation-
                                 Breast Cancer in the Women's Health          of-powers principle of the U.S. Constitution—because of, among other statutes: 42
                                 Initiative                                   U.S.C. §§ 282(b)(8)(D)(ii), 282(m)(2)(B)(iii), 283p, 285t, and/or 289a-2.




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